Case 14-10979-CSS   Doc 2011-3   Filed 09/15/14   Page 1 of 3




                    EXHIBIT B
                        Case 14-10979-CSS           Doc 2011-3       Filed 09/15/14       Page 2 of 3


Wright, Davis Lee

From:                                Sexton, Anthony Vincenzo <anthony.sexton@kirkland.com>
Sent:                                Monday, September 15, 2014 8:02 AM
To:                                  Ramsey, Natalie
Cc:                                  O'Connor, Bridget K.; Husnick, Chad J.; Wright, Davis Lee
Subject:                             Re: EFH


Natalie,

We have not yet made a final decision on whether we consent to adjournment. You should file your motion.

Regards,

Anthony V. Sexton

Kirkland & Ellis LLP
300 North LaSalle | Chicago, IL 60654
TEL +1-312-862-3216 | FAX +1-312-862-2200

Anthony.Sexton@kirkland.com

On Sep 15, 2014, at 7:47 AM, "Ramsey, Natalie" <nramsey@mmwr.com> wrote:

           All – just following up. Having not received a response to this email, we are
           preparing to file an emergency motion for a continuance. Please let us know if
           the debtors will consent.

             Thank you, Natalie



           From: Ramsey, Natalie
           Sent: Friday, September 12, 2014 2:46 PM
           To: Sexton, Anthony Vincenzo (anthony.sexton@kirkland.com)
           Cc: O'Connor, Bridget K. (boconnor@kirkland.com); Husnick, Chad J. (chusnick@kirkland.com); 'Wright,
           Davis Lee (dwright@mmwr.com)'
           Subject: EFH

           Anthony, Bridget, Chad,

           I just spoke with Mr. Schepacarter, who advised me that you are aware that the Office of the United
           States Trustee has decided to appoint a separate committee of Asbestos Personal Injury Claimants. Mr.
           Schepacarter suggested that I provide you with a list of the law firms and claimants of which we are
           aware in connection with the compilation you are preparing for him. I attach (1) exhibit C to our August
           8, 2014 letter (the 8/8/14 Ltr) to the Office of the United States Trustee, which lists the plaintiffs
           represented by four of the PI Law Firms we represented in connection with the request for appointment
           of a Committee; (2) exhibit D to our 8/8/14 Ltr, which reflects the clients represented by the fifth firm,
           Early Lucarelli; and (3) a client list of another firm that subsequently contacted us with an interest in
                                                               1
                         Case 14-10979-CSS                   Doc 2011-3           Filed 09/15/14            Page 3 of 3
        participating in this case, Wallace & Graham. We have also been contacted by David C. Thompson of
        Jackson County, Missouri, who has indicated that he represents one or more claimants against the
        Debtors. Please let us know if we can be of further assistance in identifying individuals and/or law firms
        which may wish to participate on the committee.

        Also, in light of this development, we propose to ask the Court to continue the hearing scheduled for
        next Tuesday on the Debtors’ motion for an asbestos bar date so that an official committee may be
        heard with respect to these matters. Please let us know whether you will agree to a
        continuance. Because the hearing is scheduled for next Tuesday morning, we ask that you advise us of
        your position as soon as possible, but no later than 9:00 am on Monday. If you do not agree, it is our
        intention to file an emergency motion for a continuance with the Court first thing on Monday morning.

                       Thank you, Natalie

                               Natalie D. Ramsey | Partner
                               Montgomery McCracken Walker & Rhoads LLP
        <image001.png>123 South Broad Street | Avenue of the Arts | Philadelphia, PA 19109
                               Tel: 215-772-7354 | Fax: 215-731-3910 | nramsey@mmwr.com | Attorney Profile




        Notice: This email message may contain legally privileged and/or confidential information. If you are not the intended recipient(s), or
        the employee or agent responsible for delivery of this message to the intended recipient(s), you are hereby notified that any
        dissemination, distribution and/or copying of this message is strictly prohibited. If you have received this message in error, please
        immediately notify the sender and please immediately delete this message from your computer as well as any storage device(s).
        Thank you.



***********************************************************
The information contained in this communication is confidential, may be attorney-client privileged, may constitute inside
information, and is intended only for the use of the addressee. It is the property of Kirkland & Ellis LLP or Kirkland & Ellis
International LLP. Unauthorized use, disclosure or copying of this communication or any part thereof is strictly prohibited
and may be unlawful. If you have received this communication in error, please notify us immediately by return e-mail or by
e-mail to postmaster@kirkland.com, and destroy this communication and all copies thereof, including all attachments.
***********************************************************




                                                                           2
